 Fill in Case     18-70257-jwc
         this information to identify the Doc
                                          case:         Filed 02/26/19 Entered 02/26/19 17:15:21                    Desc Main
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B 10 (Supplement 2) (12/11)          (post publication draft)
 Debtor 1         Vanessa   Niechelle Windham
                   __________________________________________________________________

 Debtor 2              ________________________________________________________________
 (Spouse, if filing)

                                         Northern
 United States Bankruptcy Court for the: ______________________             GA
                                                                District of __________
                                                                            (State)
 Case number           18-70257-jwc
                       ___________________________________________




Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                          12/16

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy
filing that you assert are recoverable against the debtor or against the debtor's principal residence.
File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.
                   Wells Fargo Bank, N.A., as Trustee for Carrington
                   Mortgage Loan Trust, Series 2006-FRE2
                   Asset-Backed Pass-Through Certificates
 Name of creditor: _______________________________________                                                            4
                                                                                          Court claim no. (if known): __________________

 Last 4 digits of any number you use to
                                                         4542 ____ ____ ____
                                                         ____
 identify the debtor’s account:

 Does this notice supplement a prior notice of postpetition fees,
 expenses, and charges?
 
 x      No
       Yes. Date of the last notice: ____/____/_____


 Part 1:         Itemize Postpetition Fees, Expenses, and Charges

 Itemize the fees, expenses, and charges incurred on the debtor’s mortgage account after the petition was filed. Do not include any
 escrow account disbursements or any amounts previously itemized in a notice filed in this case. If the court has previously
 approved an amount, indicate that approval in parentheses after the date the amount was incurred.

      Description                                                       Dates incurred                                     Amount

  1. Late charges                                                       _________________________________            (1)   $ __________
  2. Non-sufficient funds (NSF) fees                                    _________________________________            (2)   $ __________
  3. Attorney fees                                                      _________________________________            (3)   $ __________
  4. Filing fees and court costs                                        _________________________________            (4)   $ __________
  5. Bankruptcy/Proof of claim fees                                     _________________________________            (5)   $ __________
  6. Appraisal/Broker’s price opinion fees                              _________________________________            (6)   $ __________
  7. Property inspection fees                                           _________________________________            (7)   $ __________
  8. Tax advances (non-escrow)                                          _________________________________            (8)   $ __________
  9. Insurance advances (non-escrow)                                    _________________________________            (9)   $ __________
 10. Property preservation expenses. Specify:_______________            _________________________________           (10)   $ __________
 11. Other. Specify:____________________________________   _________________________________                        (11)   $ __________
                   Review/Analyze Plan & up to 2 amended,
 12. Other. Specify:____________________________________  12/11/18
                   Monitor Docket, Communicate/Negotiate _________________________________                          (12)   $ __________
                                                                                                                                  350.00
 13. Other. Specify:____________________________________                _________________________________           (13)   $ __________
 14. Other. Specify:____________________________________                _________________________________           (14)   $ __________


 The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
 See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.


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Debtor 1      Vanessa Niechelle Windham
              _______________________________________________________
                                                                                                               18-70257-jwc
                                                                                           Case number (if known) _____________________________________
              First Name      Middle Name               Last Name




 Part 2:     Sign Here


  The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
  telephone number.
  Check the appropriate box.

     I am the creditor.
  
  x   I am the creditor’s authorized agent.


  I declare under penalty of perjury that the information provided in this claim is true and correct to the best
  of my knowledge, information, and reasonable belief.



             8__________________________________________________
                 Signature
                                                                                           Date     02 15 2019
                                                                                                   ____/_____/________




                   Diana                                            Torres-Brito                    Attorney
 Print:          _________________________________________________________                 Title   ___________________________
                 First Name                      Middle Name        Last Name



 Company         Prober & Raphael, A Law Corporation
                 _________________________________________________________



 Address         20750 Ventura Boulevard, Suite 100
                 _________________________________________________________
                 Number                 Street
                 Woodland  Hills             CA            91364
                 ___________________________________________________
                 City                                               State       ZIP Code




 Contact phone    (818) 227-0100
                 (______) _____– _________                                                        Email: cmartin@pralc.com
                                                                                           Email ________________________




Official Form 410S2                                Notice of Postpetition Mortgage Fees, Expenses, and Charges                                page 2
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                                          SPECIAL NOTICE

     THE FOLLOWING NOTICE IS GIVEN TO YOU IN THE EVENT THAT THE
     FEDERAL FAIR DEBT COLLECTION PRACTICES ACT APPLIES TO THIS
                          COMMUNICATION.


   The following statement provides you with notice of certain rights which you may have by law.
Nothing in this statement modifies or changes the hearing date or response time specified in the

attached documents or your need to take legal action to protect your rights in this matter. No
provision of the following statement modifies or removes your need to comply with local rules

concerning the attached documents.

                                    CONSUMER DISCLOSURE
   This communication is made in an attempt to collect on a debt or judgment and any information
obtained will be used for that purpose. Please be advised that if you notify Prober and Raphael,

ALC within 30 days that all or a part of your obligation or judgment is disputed, then Prober and

Raphael, ALC will mail you a written verification of the obligations or judgment and the amounts

owed to Wells Fargo Bank, N.A., as Trustee for Carrington Mortgage Loan Trust, Series
2006-FRE2 Asset-Backed Pass-Through Certificates
                                                                                 .

In addition and upon your request within 30 days, you will be provided with the name and address

of the original creditor, if different from the current creditor.
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                                       PROOF OF SERVICE

                    STATE OF CALIFORNIA, COUNTY OF LOS ANGELES:


               I,    Rogelio Soria                         , certify that I am a resident of the County

aforesaid; I am over the age of 18 years and not a party to the within action; my business address is

20750 Ventura Boulevard, Suite 100, Woodland Hills, California 91364.

               On        02/26/2019                                 , I served the within NOTICE OF

POSTPETITION MORTGAGE FEES, EXPENSES, AND CHARGES on all interested parties in

this proceeding by placing true and correct copy thereof enclosed in a sealed envelope with postage

prepaid in the United States Mail at Woodland Hills, California, addressed as follows:

Vanessa Niechelle Windham
3651 Preakness Drive
Decatur, GA 30034
Debtor

Howard P. Slomka, Esquire
Slipakoff & Slomka, PC
Overlook III - Suite 1700
2859 Paces Ferry Rd, SE
Atlanta, GA 30339
Attorney for Debtor

Nancy J. Whaley
303 Peachtree Center Avenue, NE
Suite 120, Suntrust Garden Plaza
Atlanta, GA 30303
Chapter 13 Trustee




               I declare that I am employed in the office of a member of the Bar at whose direction

this service was made.

               I certify under penalty of perjury that the foregoing is true and correct.

                Executed on          02/26/2019                       at Woodland Hills, California.


                                                                 /s/ Rogelio Soria
